Case 6:18-cv-00070-NKM-RSB Document 155 Filed 09/16/21 Page 1 of 1 Pageid#: 5114



                                                                                        9/16/2021
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION


  Crown Packaging Technology, Inc. and
  CarnaudMetalbox Engineering Ltd.,
                                                  6:18-cv-00070-NKM-RSB
                 Plaintiffs/Counterclaim
                 Defendants,                      U.S.D.J. Norman K. Moon
                                                  U.S.M.J. Robert S. Ballou
         v.

  Belvac Production Machinery, Inc.,

                 Defendant/Counterclaim
                 Plaintiff.


                         SEVENTH AMENDED SCHEDULING ORDER

         This matter is before the Court on Plaintiff’s Unopposed Motion to Amend the Sixth

  Amended Scheduling Order. Dkt. 154. For good cause shown, this Seventh Amended

  Scheduling Order is hereby adopted, as set forth below:

         The deadline for filing reply briefs, which are currently due on or before September 20,

  2021 is enlarged from September 20, 2021 to September 27, 2021.

         It is so ordered.


                                                     Entered: September 16, 2021


                                                     Robert S. Ballou
                                                     Robert S. Ballou
                                                     United States Magistrate Judge
